









Affirmed and Memorandum Opinion filed January 5, 2006













Affirmed and Memorandum Opinion filed January 5, 2006.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00628-CV

____________

&nbsp;

IN THE
INTEREST OF V.M.B., a child

&nbsp;



&nbsp;

On Appeal from the 315th District
Court

Harris County,
Texas

Trial Court Cause No.
03-00833J

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant, Vernon Brackens, appeals a final decree signed May
12, 2005, terminating his parental rights to the child who is the subject of
this suit.&nbsp; Appellant filed a timely
motion for new trial, notice of appeal, and statement of appellate points.&nbsp; Appellant also filed an affidavit of
indigency, and the trial court found appellant indigent and appointed counsel
to represent him on appeal.








Appellant=s appointed counsel filed a brief in which he concludes the
appeal is wholly frivolous and without merit.&nbsp;
The brief meets the requirements of Anders v. California, 386 U.S. 738, 87
S.Ct. 1396 (1967), presenting a professional evaluation of the record
demonstrating why there are no arguable grounds to be advanced.&nbsp; See High v. State, 573 S.W.2d 807
(Tex. Crim. App. 1978).&nbsp; The Anders
procedures are applicable to an appeal from the termination of parental rights
when an appointed attorney concludes that there are no non-frivolous issues to
assert on appeal.&nbsp; In re D.E.S.,
135 S.W.3d 326, 329 (Tex.
App.CHouston [14th Dist.] 2004, no
pet.).&nbsp; 

A copy of counsel=s brief was delivered to
appellant.&nbsp; Appellant was advised of his
right to examine the appellate record and file a pro se response.&nbsp; See Stafford
v. State, 813 S.W.2d 503, 510 (Tex. Crim. App. 1991); In re D.E.S.,
135 S.W.3d at 329-30.&nbsp; More than
forty-five days have elapsed and as of this date, no pro se response has been
filed.

We have carefully reviewed the record and counsel=s brief and agree the appeal is
wholly frivolous and without merit.&nbsp;
Further, we find no reversible error in the record.&nbsp; A discussion of the brief would add nothing
to the jurisprudence of the state.

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed January 5, 2006.

Panel consists of Chief Justice
Hedges and Justices Yates and Anderson. 





